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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CHRISTIE VAN, CHARMELLA
LEVIEGE, MARIA PRICE, HELEN
ALLEN, JACQUELINE BARRON,                         Case No. 1:14-CV-08708
THERESA BOSAN, SHRANDA
CAMPBELL, KETURAH CARTER,
MICHELLE DAHN, TONYA EXUM,                        Honorable Sharon Johnson Coleman
JEANNETTE GARDNER, ARLENE
GOFORTH, CHRISTINE HARRIS,
ORISSA HENRY, LAWANDA JORDAN,
DANIELLE KUDIRKA, TERRI LEWIS-
BLEDSOE, CONSTANCE MADISON,
CEPHANI MILLER, MIYOSHI MORRIS,
STEPHANIE SZOT, SHIRLEY THOMAS-
MOORE, ROSE THOMAS, TONI
WILLIAMS, BERNADETTE CLYBURN,
MARTHA CORBIN, ANGELA GLENN,
LADWYNA HOOVER, OGERY
LEDBETTER, LATRICIA SHANKLIN,
ANTOINETTE SULLIVAN, DERRICKA
THOMAS, and NICHEA WALLS, each
individually and on behalf of all similarly
situated persons,

                     Plaintiffs,

       v.

FORD MOTOR COMPANY,

                     Defendant.


                                   JOINT STATUS REPORT

       The parties hereby submit their Joint Status Report. As explained further below, this is a

putative class action in which plaintiffs also assert a number of individual claims. Ford has

moved to dismiss numerous counts of the complaint and to strike class allegations. The parties

respectfully suggest that the initial status conference, set for June 19, 2015, may most
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productively be used to establish a schedule for briefing and deciding Ford’s motion to dismiss,

after which a schedule for further proceedings in the case may be determined.

1.     NATURE OF THE CASE

       A.      Attorneys of Record

       The attorneys of record in this case are as follows:

       For Plaintiffs:

               Keith L. Hunt (lead trial attorney) and Bradley E. Faber, HUNT &

               ASSOCIATES, P.C. Three First National Plaza, Suite 2100, Chicago, Illinois

               60602.

       For Defendant:

               Eugene Scalia (admitted pro hac vice) and Thomas M. Johnson, Jr. (admitted pro

               hac vice), GIBSON, DUNN & CRUTCHER LLP, 1050 Connecticut Avenue,

               N.W., Washington, D.C. 20036.

               Kathleen M. Nemechek and Timothy S. Millman, BERKOWITZ OLIVER

               WILLIAMS SHAW & EISENBRANDT LLP, 2600 Grand Boulevard, Suite

               1200, Kansas City, Missouri 64108.

               Mark H. Boyle and Karen Kies DeGrand, DONOHUE BROWN MATHEWSON

               & SMYTH LLC, 140 South Dearborn Street, Suite 800, Chicago, Illinois 60603.

       B.      Nature of Claims Asserted

       This is a putative class action in which plaintiffs also assert a number of individual

claims. Plaintiffs are 33 current and former employees of Ford Motor Company who work (or

previously worked) at Ford’s Chicago Assembly Plant (“CAP”) or Chicago Stamping Plant

(“CSP”). Each of the plaintiffs alleges sexual harassment and sex discrimination in violation of

Title VII. A subset of plaintiffs also allege race discrimination in violation of § 1981 and Title


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VII. In their sexual harassment, sex discrimination, and race discrimination claims, plaintiffs

seek to represent a class defined as “all present or former female employees who suffered

discrimination (based on gender, sexual harassment or race) while working at the [CAP] or

[CSP] from 2012 through the present,” including sub-classes of “(1) female employees who

suffered sexual harassment or gender discrimination; and (2) females who suffered harassment or

discrimination based on race.”

        Plaintiffs also assert a variety of claims on an individual basis. Each plaintiff alleges a

count of retaliation for allegedly refusing sexual advances and for complaining of discrimination

and harassment. A majority of the plaintiffs allege counts of battery, assault, and intentional

infliction of emotional distress. Certain plaintiffs also allege violations of the Americans with

Disabilities Act (“ADA”), and one plaintiff alleges national origin discrimination in violation of

Title VII.

        Ford denies plaintiffs’ allegations and has moved to dismiss numerous claims and to

strike the class allegations.

        C.      Relief Sought by Plaintiffs

        Plaintiffs seek compensatory damages; liquidated damages where applicable; back pay,

lost future earnings, and reimbursement for lost income and lost fringe benefits; punitive

damages; prejudgment interest; attorney’s fees, expert witness fees, expenses, and costs;

appointment of a monitor to supervise workplace conditions for a period of at least five years; an

order requiring Ford to implement steps to eliminate and remediate harassment and

discrimination in the workplace; and an injunction preventing Ford from discriminating against

or harassing Plaintiffs and Ford’s employees.




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        As noted, Ford denies plaintiffs’ allegations and has moved to dismiss numerous claims

and to strike the class allegations.

        D.      Status of the Case

        The original Complaint was filed on November 3, 2014, with four named plaintiffs. The

First Amended Complaint (“FAC”) was filed on May 1, 2015, with 29 additional named plaintiffs.

Doc. 29. On June 12, 2015, Ford filed its Partial Motion to Dismiss the First Amended Complaint

and Motion to Strike Class Allegations (“Motion to Dismiss”). Given the nature of Ford’s

arguments raised in its 30-page memorandum, Plaintiffs request until August 7, 2015 to respond

to Ford’s Motion to Dismiss, and that they be granted leave to file a brief in excess of the

customary 15-page limitation in their response. Ford does not oppose an extension of the page

limitation up to and including 30 pages. Ford requests until September 18, 2015 to file its reply

brief, and respectfully reserves its right to seek leave of Court to exceed the 15-page limitation if

additional pages prove necessary to respond to Plaintiffs’ opposition.

        An initial status conference is set for June 19, 2015 at 9:00 AM.

2.      PENDING MOTIONS

        Ford’s June 12 Motion to Dismiss is currently pending.

3.      REMAINING DISCOVERY

        The parties have not yet exchanged initial disclosures or discovery requests. The parties

agree, however, that Ford’s pending Motion to Dismiss should be resolved prior to the

imposition of a discovery schedule in this case.

4.      TRIAL

        Plaintiffs have requested a jury trial in this matter.     At this time, it is difficult to

determine the probable length of time needed for trial. The parties will be in a better position to




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make this determination after the Court rules on Ford’s pending Motion to Dismiss and after

class certification issues have been resolved.

5.     CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

       The parties do not consent to proceed before a Magistrate Judge.

6.     STATUS OF SETTLEMENT DISCUSSIONS

       There have not been settlement discussions between the parties to date.



       Respectfully submitted this 17th day of June 2015.


PLAINTIFFS                                       FORD MOTOR COMPANY

/s/ Keith L. Hunt
Keith L. Hunt                                    Eugene Scalia (admitted pro hac vice )
Bradley E. Faber                                 Thomas M. Johnson, Jr. (admitted pro hac vice)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of June, 2015, I electronically filed the foregoing

with the clerk of the court by using the CM/ECF system, which provided electronic service upon:

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              Counsel for Plaintiffs


                                            /s/Kathleen M. Nemechek
                                            Counsel for Defendant
